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OAO 245B      (Rev. 06/05) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                          Eastern                                 District of                                   Oklahoma
          UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                              V.
                  RICHARD BURRIS
                                                                             Case Number:                        CR-09-00005-003-JHP
                                                                             USM Number:                         04826-063

                                                                             Rex Earl Starr
                                                                             Defendant’s Attorney
THE DEFENDANT:
 pleaded guilty to count(s)         1, 2 and 3 of the Information.

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                               Offense Ended            Count
21:846                             Conspiracy to Possess with Intent to Distribute and Distribute                   12/21/2008                1
                                   Controlled Substances.
18:1956(h)                         Conspiracy to Launder Monetary Instruments                                        12/21/2008                2
21:853                             Drug Forfeiture                                                                                             3


        The defendant is sentenced as provided in pages 2 through                  6        of this judgment. The sentence is imposed pursuant to
Title 18, Section 3553(a) of the United States Criminal Code.
G The defendant has been found not guilty on count(s)
G Count(s)                                               G is         G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             November 19, 2009
                                                                             Date of Imposition of Judgment




                                                                             E.O.D. 11/24/2009
                                                                             Date
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AO 245B      (Rev. 06/05) Judgment in Criminal Case
             Sheet 2 — Imprisonment

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DEFENDANT:                      RICHARD BURRIS
CASE NUMBER:                    CR-09-00005-003-JHP

                                                                IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
      term of:      97 months on Count 1 and to a term of 97 months on Count 2. The terms of imprisonment imposed on Counts
1 and 2 shall be served concurrently.




     The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends that the Bureau of Prisons evaluate and determine if the defendant is a suitable candidate for the Intensive Drug
          Treatment Program. Should the defendant be allowed to participate in the program, it is further recommended that the defendant be
          afforded the benefits prescribed and set out in 18 U.S.C. Section 3621(e) and according to Bureau of Prisons' policy.



     The defendant is remanded to the custody of the United States Marshal.

    G The defendant shall surrender to the United States Marshal for this district:
          G at                                         G a.m.      G p.m.       on                                              .

          G as notified by the United States Marshal.

    G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G before 12:00 Noon on
          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                             to

a                                                       , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL
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AO 245B      (Rev. 06/05) Judgment in a Criminal Case
             Sheet 3 — Supervised Release
                                                                                                          Judgment—Page       3     of         6
DEFENDANT:                    RICHARD BURRIS
CASE NUMBER:                  CR-09-00005-003-JHP
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :           36 months on Counts 1 and 2. The terms
of supervised release shall be served concurrently.

     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      The defendant shall not leave the judicial district without the permission of the court or probation officer.
  2)      The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month.
  3)      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
  4)      The defendant shall support his or her dependents and meet other family responsibilities.
  5)      The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons.
  6)      The defendant shall notify the probation officer at least ten days prior to any change in residence or employment.
  7)      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician.
  8)      The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
  9)      The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer.
 10)      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer.
 11)      The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer.
 12)      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court.
 13)      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
 14)      The defendant shall submit to urinalysis testing as directed by the Probation Office.


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            Sheet 3C — Supervised Release
                                                                                                     Judgment—Page      4    of        6
DEFENDANT:                 RICHARD BURRIS
CASE NUMBER:               CR-09-00005-003-JHP

                                        SPECIAL CONDITIONS OF SUPERVISION
(1) The defendant shall participate in a program approved by the United States Probation Office for the treatment of narcotic addiction,
    drug dependency, or alcohol dependency, which will include testing to determine if the defendant has reverted to the use of drugs
    or alcohol. If it is determined by the Probation Officer that the defendant is in need of a residential drug/alcohol treatment program,
    the defendant shall reside in and participate in such treatment as directed by the Probation Officer and remain in the treatment facility
    until discharged.
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AO 245B   (Rev. 06/05) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties
                                                                                                         Judgment — Page    5      of       6
DEFENDANT:                        RICHARD BURRIS
CASE NUMBER:                      CR-09-00005-003-JHP
                                             CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                          Fine                                    Restitution
TOTALS            $ 200.00                                            $                                       $


G The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                   Total Loss*                        Restitution Ordered                      Priority or Percentage




TOTALS                                $                           0           $                           0


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the             G fine      G       restitution.

     G the interest requirement for the              G fine    G restitution is modified as follows:
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                          Judgment — Page     6     of          6
DEFENDANT:                   RICHARD BURRIS
CASE NUMBER:                 CR-09-00005-003-JHP

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    G Lump sum payment of $                                    due immediately, balance due

          G      not later than                                     , or
          G      in accordance           G    C,       G   D,   G     E, or     G F below; or
B     Payment to begin immediately (may be combined with                     G C,     G D, or     F below); or
C    G Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     Special instructions regarding the payment of criminal monetary penalties:
          A special assessment of $200.00 is due immediately and is to be made payable to the U.S. Court Clerk for the Eastern District of
          Oklahoma, P.O. Box 607, Muskogee, OK 74402.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
    The defendant shall forfeit the defendant’s interest in the following property to the United States:
     Interest in the items set forth in Count 3 of the Information and plea agreement, to include a sum of money equal to $5,000,000, which
     represents the amount of proceeds obtained as a result of the offenses alleged in Count 1.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
